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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 311: ORDER
                                                     GRANTING MONSANTO'S MOTION
   Perillo v. Monsanto Co.,                          TO EXCLUDE EXPERT DORJEE
   Case No. 3:21-cv-02550-VC
                                                     Re: Dkt. No. 19047



       Monsanto’s motion to exclude the testimony of Dr. Kunchok Dorjee is granted. This

ruling assumes the reader’s familiarity with the facts, the applicable legal standard, the prior

Daubert rulings in this MDL, and the arguments made by the parties. See generally In re

Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order

No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D.

Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Company, 997 F.3d

941 (9th Cir. 2021).
       Dorjee’s general causation opinion is so clearly deficient that it barely needs to be
discussed. His “fresh meta-analysis”—the centerpiece of his opinion—is a regurgitation of the
junk science used in Zhang 2019 combined with selectively pruned and unadjusted data from an
additional study, Meloni 2021. See Pretrial Order No. 293 (Dkt. No. 18661). Dorjee does not
seriously engage with the breadth of the relevant literature, and his incorporation of Dr. Portier’s
general causation opinion cannot rescue his own. Dorjee’s general causation opinion is excluded.
       Although Dorjee, as an epidemiologist, is likely qualified to opine on general causation
(which Monsanto does not contest), he is not qualified to opine on specific causation because he
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has no experience in identifying the cause of an individual’s cancer. He is not an oncologist, a
toxicologist, or a pathologist; he is not board certified in any medical discipline in the U.S.; he
has minimal clinical experience (apparently none in providing treatment to cancer patients) and
has never treated a patient with NHL. Perillo’s defense of Dorjee’s credentials boils down to
listing his degrees and teaching positions, none of which seem to involve any experience or
training in doing differential etiology. Opp. at 6. And the Court has not found any mention of
identifying the cause of an individual’s cancer (as opposed to population-level research) in his
report or deposition. Without that experience, Dorjee cannot opine on what caused the plaintiff’s
cancer.
          To be clear, if Dorjee had training or experience in doing differential etiology, his lack of
medical credentials or clinical experience would not necessarily disqualify him. In prior orders,
the Court has expressed skepticism at some Ninth Circuit language suggesting courts should give
deference in the area of differential etiology to doctors who treat patients or diagnose diseases,
since most doctors who treat patients or diagnose diseases do not also attempt to identify the
cause of the disease for their patients. See, e.g., Pretrial Order No. 295 (Dkt. No. 19614) at 1;
Pretrial Order No. 289 (Dkt. No. 17841) at 5 n.4; Pretrial Order No. 292 (Dkt. No. 18367) at 5
n.1. That skepticism also runs in the other direction: this ruling should not be interpreted to mean
that a person with experience or training doing differential etiology must also have clinical
experience treating or diagnosing diseases to opine on specific causation.
          The parties appear to agree that even without Dorjee’s testimony, Perillo may be able to
present admissible specific causation evidence through his other experts, Dr. Mehta and Dr.
Bobst. If Monsanto believes Perillo has no admissible specific causation evidence once the Court
decides Monsanto’s motions to exclude those experts, Monsanto should refile its motion for
summary judgment.
          IT IS SO ORDERED.

Dated: February 24, 2025
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge


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